                                Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 1 of 10




 United States Bankruptcy       Court for the:

 SOUTHERN DISTRICT             OF TEXAS


 Case number (ifknown)                                                                    Chapter   11

                                                                                                                                             O       Check if this an
                                                                                                                                                     amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                           4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.        Debtor's name                 L   REIT, LTD.


2.         All other names debtor
           used in the last 8 years
           Include any assumed
           names, trade names and
           doing business as names


3.         Debtor's federal
           Employer Identification       XX-XXXXXXX
           Number (EIN)


4.         Debtor's address              Principal place       of   business                                 Mailing address,      if   different from principal place            of
                                                                                                             business

                                         7904 North Sam Houston                 Pkwy West
                                         Houston, TX 77064
                                         Number, Street, City, State       &   ZIP Code                      P.O.   Box, Number,        Street, City, State       &   ZIP Code


                                         Harris                                                              Location   of   principal assets,          if   different   from principal
                                        County                                                           .   place of business
                                                                                                             7900, 7904, 7906, 7908, 7840, and 7850 N Sam
                                                                                                             Houston Parkway, and 10740 N Gessner Road
                                                                                                             Houston, TX 77064
                                                                                                             Number, Street, City, State         &    ZIP Code



5.         Debtor's website   (URL)



6.     Type of debtor                   O    Corporation   (including Limited Liability Company (LLC) and Limited Liability Partnership          (LLP))

                                        E    Partnership   (excluding LLP)

                                        O    Other. Specify:




Official     Form   201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                  page     1
                                              Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 2 of 10
 Debtor              L       REIT, LTD.                                                                                                                                               case number (ifknown)
                     Name



 7.        Describe debtor's business                              A.   Check one:
                                                                   O     Health Care Business (as defined                                 in    11       U.S.C.       §
                                                                                                                                                                          101(27A))

                                                                   E     Single Asset Real Estate (as defined                                   in       11    U.S.C.       §
                                                                                                                                                                                101(51B))

                                                                   O     Railroad (as defined        in   11        U.S.C.            §
                                                                                                                                               101(44))

                                                                   O     Stockbroker        (as defined        in   11        U.S.C.            §
                                                                                                                                                     101(53A))

                                                                   O     commodity Broker           (as defined                in     11        U.S.C.          §
                                                                                                                                                                     101(6))

                                                                   O     Clearing Bank (as defined                  in    11        U.S.C.           §
                                                                                                                                                              781(3))

                                                                   O     None of the above


                                                                   B.   Check all that apply
                                                                   O Tax-exempt entity           (as described                  in        26 U.S.C.                 §501)

                                                                   O     Investment company, including hedge fund                                               or   pooled investment vehicle (as defined                 in   15 U.S.C.      §80a-3)

                                                                   O     investment        advisor (as defined                 in         15 U.S.C.              §80b-2(a)(11))


                                                                   C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                                        See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                                               5311


8.     Under which chapter of the                                  Check one:
       Bankruptcy Code is the
                                                                   O     Chapter      7
       debtor filing?
                                                                   O    Chapter       9



                                                                   E     Chapter 11. Check all that apply:

                                                                                                O     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                                                      are less than $2,566,050(amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                                                O     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                                                      business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                                                      statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                                                      procedure in 11 U.S.C. § 1116(1)(B).
                                                                                                O     A   plan           is    being filed with this petition.
                                                                                                O     Acceptances of the plan were solicited prepetition from one                                                     or   more classes of creditors,         in

                                                                                                      accordance with 11 U.S.C. § 1126(b).
                                                                                               O      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                                                      Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                                                      attachrnent to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                                                      (Official Form 201A) with this form.

                                                                                               O     The debtor                      is    a    shell company                   as   defined   in   the Securities   Exchange Act of 1934 Rule 12b-2.

                                                                   O    Chapter       12




9.     Were prior bankruptcy                                       -    No.
       cases filed by or against
       the debtor within the last                      8           O Yes.
       years?
       If more than                2   cases, attach           a


       separate list.                                                           District                                                                         When                                          Case number

                                                                                District                                                                         When                                          Case number


10.    Are any bankruptcy cases                                    O No
       pending or being filed by                       a


       business partner or an                                      A Yes.
       affiliate of the debtor?
       List    all       cases. If more than       1




                                                                                              Beltway                Properties, Ltd.                                                                                                             Affiliate
                                                           '




       attach            a separate list                                        Debtor                          7                                                                                             Relationship

                                                                                              Southern District                                of
                                                                                              Texas, Houston
                                                                                District      Division                                                           When            12/05/18                     Case number,        if   known




Official      Form           201                                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                               page      2
                                 Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 3 of 10
 Debtor         L   REIT, LTD.                                                                                                                                                             case number (itknown)
                Name



11.        Why is the case filed           in       Check all that apply:
           this district?
                                                                  Debtor has had its domicile, principal place of business, or principal assets                                                                            in    this district for 180 days                           immediately
                                                                  preceding the date of this petition or for a longer part of such 180 days than                                                                            in    any other district.

                                                    O             A       bankruptcy                                case concerning debtor's affiliate,                general partner,                   or   partnership         is        pending    in   this district.


12.        Does the debtor own or                   ||   No
           have possession of any
           real property or personal                                       Answer below for each property that needs immediate attention. Attach additional sheets                                                                                           if   needed.
                                                    O Yes.
           property that needs
           immediate attention?                                            Why does the property                                          need immediate attention? (Check all that apply.)

                                                                           O                    It    poses          or   is   alleged to pose   a   threat of imminent and identifiable hazard                                         to    public health        or       safety.

                                                                                            What               is   the hazard?

                                                                           O                    It    needs          to   be physically     secured       or    protected from the weather.

                                                                           O                 It includes perishable goods or assets that could quickly deteriorate                                                         or    lose value without attention                            (for example,
                                                                                            livestock, seasonal goods, meat, dairy, produce, or securities-related                                                          assets            or   other options).

                                                                           O Other
                                                                           Where                          is        the property?
                                                                                                                                                 Number, Street, City, State                          &   ZIP Code

                                                                           is           the property                           insured?
                                                                           O No

                                                                           O Yes.                                   Insurance agency

                                                                                                                    Contact name
                                                                                                                    Phone



               Statistical and administrative information

13.    Debtor's estimation            of        .                     Check one:
       available funds
                                                                      i     Funds will be available for distribution                                           to   unsecured creditors.

                                                                      O After any administrative                                       expenses are paid,              no   funds              will be available      to        unsecured creditors.


14.    Estimated number          of             i        1-49                                                                                         O 1,000-5,000                                                                     O 25,001-50,000
       creditors                                                                                                                                      O 5001-10,000                                                                     O 50,001-100,000
                                                O 50-99                                                                                                                                .




                                                O 100-199                                                                                             O 10,001-25,000                                                                   O More than100,000
                                                O 200-999


15.    Estimated Assets                         O $0          -
                                                                      $50,000                                                                         O $1,000,001             -
                                                                                                                                                                                       $10 million                                      O $500,000,001                  -
                                                                                                                                                                                                                                                                            $1        billion
                                                O $50,001                       -
                                                                                                $100,000                                              O $10,000,001                -
                                                                                                                                                                                               $50   million                            O $1,000,000,001                     -
                                                                                                                                                                                                                                                                                     $10 billion
                                                O $100,001                                  -
                                                                                                     $500,000                                         -        $50,000,001         -
                                                                                                                                                                                               $100 million                             O $10,000,000,001                        -
                                                                                                                                                                                                                                                                                      $50 billion
                                                O $500,001                                  -
                                                                                                     $1   million                                     O $100,000,001                       -
                                                                                                                                                                                                $500 million                            O More than $50 billion


16.    Estimated liabilities                    O $0          -
                                                                  $50,000                                                                             0        $1,000,001      -
                                                                                                                                                                                       $10 million                                      O $500,000,001                  -
                                                                                                                                                                                                                                                                            $1        billion
                                                O        $50,001                    -
                                                                                                $100,000                                              O $10,000,001                -
                                                                                                                                                                                               $50   million                            O $1,000,000,001                     -
                                                                                                                                                                                                                                                                                     $10 billion
                                                O $100,001                              -
                                                                                                 $500,000                                             -        sso,ooo,oo1         -
                                                                                                                                                                                               $100 million                             O $10,000,000,001                        -
                                                                                                                                                                                                                                                                                      $50 billion
                                                O $500,001                              -
                                                                                                 $1       million                                     O $100,000,001                       -
                                                                                                                                                                                                $500 million                            O More than $50 billion




Official     Form 201                                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                                                          page   3
                                 Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 4 of 10
Debtor        L    REIT, LTD.                                                                                                                                Case number    (if   known)
              Name




              Request for Relief, Declaration, and Signatures

WARNING           - Bankruptcy       fraud   is   a            serious crime. Making                a false      statement in connection with a bankruptcy case can result                            in   fines    up       to   $500,000 or
                     imprisonment for        up           to    20 years,     or both.           18 U.S.C.       §§ 152, 1341, 1519, and 3571.

17.   Declaration and signature
      of authorized                                   The debtor requests relief                          in   accordance    with the chapter of title         11, United States Code, specified                        in   this petition.
      representative of debtor
                                                      I        have   been authorized                to   file this petition on behalf of the debtor.


                                                      I        have   e×amined the information                    in   this petition and have         a   reasonable belief that the information                   is    trued     and correct.

                                                      I    declare under penalty of perjury that the foregoing                           is   true and correct.


                                                      Executed           on              /       Â
                                                                                  MM         /    DD



                                             X                                                                                                    \                 Mohammad                Nasr
                                                  Signattfafefauthorized representative                                    of debtor                                Printed name

                                                                       President of L Reit, LLC, Debtor's
                                                  Title                General Partner                                                        ,




                                                                                                                                                                  ¯~i5ate
18.   Signature      of   attorney           X                                                                                                                                              /
                                                  Signathré of attorney for debtor                                                                                                MM   /   DD   /   YYYY


                                                  Melissa A. Haselden
                                                  Printed name

                                                  Hoover Slovacek LLP
                                                  Firm            name

                                                  5051                Westheimer
                                                  Suite 1200
                                                  Houston, TX 77056
                                                  Number, Street, City, State                              &   ZIP Code



                                                  Contact phone                    713.977.0686                                   Email address


                                                  00794778 TX
                                                  Bar number and State




Official   Form    201                                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                             page   4
     Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 5 of 10
T




                                          WRITTEN CONSENT OF TIE PARTNERS
                                                   OF L REIT, LTD,

              The undersigned, being all partners of L REIT, LTD., a Texas limited partnership (the
      "Partnership"),  and pursuant to the provisions of the Texas statutes,     hereby consents to and
      adopts the following recitals and resolutions, by written consent as of November _, 2018:

                RESOLVED,      that the Partnership should reorganize by filing for bankruptcy
                protection under Chapter 11 of the Bankruptcy Code with an appropriate federal
                bankruptcy court sitting in Harris County, Texas or such other appropriate county
                determined by the General Partner;

                RESOLVED,             that   Mohammad       Nasr, the President of L Reit, LLC           ("General
                Partner"), is hereby authorized and directed to prepare or cause to be prepared the
                voluntary petition and to cause the initiation and prosecution of case under the a


                Bankruptcy Code (the "Bankruptcy Case"), and to prepare or cause to be prepared
               all other documents, pleadings                   and   other   others   instruments   necessary   to
               prosecute the Bankruptcy Case;

               RESOLVED,     that the Partnership is authorized and directed to employ and retain
              the firm  of Hoover Slovacek LLP, Attomeys at Law, to represent the Partnership
              in its case under the Bankruptcy Code upon such retainer          and compensation
              agreement as may seem in the sole discretion of the General Partner to be
              appropriate; and

              RESOLVED FURTHER,                    that   any    and all actions taken by the General Partner,
              for and on behalf and in the name of this Partnership,  prior to the adoption of the
              foregoing resolutions, in connection with any of the foregoing matters, be and
              they are hereby, ratified, confirmed and approved in all respects for all purposes.

              The undersigned,            beitig the General Partner of the Partnership          hereby cónsents      to   the
    foregoing     effective the                day of November, 2018.




    {851325/0000lt01270628.DOCX   1
                                      }
      Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 6 of 10




                                   GENERAL PARTNER:

                                   L   REIT, LLC

                                   By:    Beltway         7   Properties, Ltd., Sole Member

                                   By:    Beltway         7   Management, LLC, its General Partner

                                   BELTWAY           7   MANAGEM        i




                                   By:
                                          Mo     ornad Nasr,         President and Sole Member



                                          By:
                                                         Ricardo Beausoleil, Independent
                                                         Director of Beltway 7 Management, LLC


                                          By:
                                                         Steven Zimmer, Independent
                                                         Director of Beltway Management, LLC
                                                                              7




                                                         Jennifer A. Schwartz, Independent
                                                         Director of L REIT, LLC



                                                         Victor A. Duva, Independent
                                                         Director of L REIT, LLC


                                   LIMITED PARTNER:

                                   BELTWAY       7       PROPERTIES, LTD.

                                   By: Beltway   7       Management, LL           eral Partner



                                          By:
                                                         Mohammad Nasr, Member




(851325/00001/01270628.DOCX2   }
   Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 7 of 10




                                       GENERAL PARTNER:

                                       L   REIT, LLC

                                      By:     Beltway         7   Properties,       Ltd., Sole Member

                                      By:     Beltway         7   Management, LLC,             its   General Partner


                                      BELTWAY           7    MANAGEMENT, LLC


                                      By:
                                              Mohammad Nasr, President                       and Sole   Member



                                              By:
                                                            Ricardo Beausoleil, Independent
                                                            Director of Beltway 7 Management,                  LLC



                                              By:
                                                            Steven Zimmer, Independent
                                                            Director of Beltway Management,
                                                                                         7                     LLC




                                                            Jennif        ·



                                                                              A.   chwartz, ndependent
                                                            Direct    i       of L REIT, LLC




                                                            Victor A. Duva, Independent
                                                            Director of L REIT, LLC


                                      LIMITED PARTNER:
                                      BELTWAY       7       PROPERTIES, LTD.

                                      By: Beltway   7       Management, LLC, General Partner



                                              By:
                                                            Mohammad Nasr, Member




(851325/00001/01270628.DOCX   2
                                  }
                                   Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 8 of 10



     Debtor name | L REIT, LTD.
     United States Bankruptcy Court                            for the:     SOUTHERN DISTRICT OF TEXAS                                                                                                  O    Check       if    this   is    an


  Case number (if known):                                                                                                                                                                                    amended filing




 Official Form 204
 Chapter 11 or Chapter                                     9     Cases: List of Creditors Who Have the                                                                      20        Largest Unsecured Claims and
 Are Not Insiders                                                                                                                                                                                                                                      12/15


 A  list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and                      Name, telephone number                   Nature of claim                           Indicate   if   claim         Amount         of   claim
  complete mailing address                  and email address of                     (forexample, trade                         is contingent,               If the   claim      isfully unsecured, fill in only unsecurad claim amount if
  including zip code                        creditor contact                         debts, bank loans,                        unliquidated, or              claim     is   partially secured, fill in total claim amour and deduction for
                                                                                                                                                                                                                         t




                                                                                     professional services,                        disputed                  value of       collateral or setoff to calculate unsecured claim.
                                                                                     and  government                                                         Total claim, if                 Deduction for value              Unsecured          claim
                                                                                     contracts)                                                              partially secured               ofcollateral or setoff
  American Fire                                                                                                                                                                                                                             $2,977.49
  Systems Inc
  5726 Teague                               713-466-9898
  Houston, TX 77041
  Caldwell Companies                                                                                                                                                                                                                       $24,084.22
  7904 N Sam
  Houston Pkwy W                            713-690-0000
  4th Floor
  Houston, TX 77064
  Colliers                                                                                                                                                                                                                                 $43,468.73
  International
 1233 West Loop                         713-222-2111
 South Suite 900
 Houston, TX 77027
 CRA Houston                                                                                                                                                                                                                                $9,399.39
 PO Box 131952
 Spring, TX 77393
 Elite Protective                                                                                                                                                                                                                          $50,919.78
 Service
 5090 Richmond                          713-686-3200
 Avenue Suite 402
 Houston, TX 77056
 Environmental                                                                                                                                                                                                                              $3,198.42
 Coalition
 incorporated                           281-438-1500
 PO Box 1568
 Stafford, TX
 77497-1568
 FacilitySolutionsgro                                                                                                                                                                                                                       $3,877.56
 up
 5091 Steadmont
 Houston, TX 77040
 Fora Financial                         Sean Legerton                                Loan estimated
                                                                                               -
                                                                                                                              Contingent                                                                                              $120,000.00
 National Funding                                                                    balance                                  Unliquidated
 9820 Towne Centre                      slegerton@national
 Drive                                  funding.com
 San Diego, CA                          800-347-9042
 92121


Official form 204                                                Chapter   11   or   Chapter       9   Cases:   List   of   Creditors Who Have         the     20     Largest Unsecured claims                                             page    1




Software Copyright   (c)   1996-2018 Best    Case,   LLC   -
                                                               www.bestcase.com                                                                                                                                       Best    Case    Bankruptcy
                                         Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 9 of 10



   Debtor      L       REIT, LTD.                                                                                                                             case number         (if   known)
               Name


   Name of creditor and                           Name, telephone number                  Nature of claim                        Indicate   if   claim   Amount         of   claim
   complete mailing address,                      and email address of                    (for example, trade                     is contingent,         If    the claim     is fully unsecured, fill in only unsecurad claim amount. If
   including zip code                             creditor contact                        debts, bank loans,                     unliquidated, or        claim      is   partially securel, fill in total claim amourt and deduction for
                                                                                          professional services,                     disputed            value      of   collateral or se off to calculate unsecurEd claim.
                                                                                                                                                         Total claim, if                         Deduction for value       Unsecured     claim
                                                                                                                                                         partially secured                       of collateral or setoff

  Gregory          J       Dalton        PC                                                                                                                                                                                          $15,260.00
   POBox109
  Katy, TX 77492                                  281-391-1985
  K&R Mechanical                                                                                                                                                                                                                      $7,893.50
  Services LLC
  12634 Haynes Road                               281-408-9414
  Houston, TX 77066
  Kilgore Industries                                                                                                                                                                                                                  $1,685.47
  LP
  10050 Houston Oaks                              713-924-4900
  Dr
  Houston, TX 77064
  Mattox Terrell                     &                                                                                                                                                                                              $23,283.61
  Associates
  1614 Ave             B                          281-391-1001
  Katy, TX 77493
  Otis                                                                                                                                                                                                                                $7,179.98
  One Farm Springs
  Farmington, CT                                  713-524-8486
  06032
 Paul Richard                                                                                                                                                                                                                         $1,297.92
 Electric
 PO Box 38797                                     832-206-7990
 Houston, TX 77238
 Professional                                                                             Litigation                           Contingent                                                                                           $91,586.76
 Janitorial Service                                                                                                            Unliquidated
 of Houston Inc                                   713-850-0287                                                                 Disputed
 2303 Nance St
 Houston, TX 77020
 Pyrotex Systems                                                                                                                                                                                                                      $4,074.00
 PO Box 1639
 Alvin, TX 77512                              281-585-0585
  Quality Airflow                                                                                                                                                                                                                   $12,500.00
 PO Box 41344
 Houston, TX                                  281-216-6288
 77241-1344
 Rae Security                                                                                                                                                                                                                         $1,396.43
 7102 W Sam
 Houston           Pkwy N                     832-849-4150
 Houston,          TX 77040
 Shooter       and                                                                                                                                                                                                                  $34,384.49
 Lindsey       Inc
 PO Box        516                            281-392-3607
 Katy,      TX 77492
 Spring Glass                    &                                                                                                                                                                                                  $15,110.62
 Mirror Ltd
 PO Box 2161                                  281-353-1100
 Spring, TX 77383




Official form 204                                                     Chapter   11   or   Chapter   9   Cases:   List   of   Creditors Who Have the           20   Largest Unsecured claims                                          page   2




Software Copyright         (c)   1996-2018 Best    Case,   LLC   -
                                                                     www.bestcase.com                                                                                                                                  Best Case   Bankruptcy
                       Case 18-36881 Document 1 Filed in TXSB on 12/05/18 Page 10 of 10



                                                                United States Bankruptcy Court
                                                                       Southern District of Texas

   In re      L REIT, LTD.                                                                                              Case No.
                                                                                      Debtor(s)                         Chapter        11


                                                           LIST OF EQUITY SECURITY HOLDERS

 Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 1 1 Case


  Name and last known address or place of                            Security Class     Number of Securities                       Kind of Interest
  business of holder

  Beltway 7 Properties, Ltd.                                                            99%                                        Limited Partner
  7904 North Sam Houston Pkwy West
  Houston, TX 77064


  L REIT, LLC                                                                           1%                                         General Partner
  7904 North Sam Houston Pkwy West
  Houston, TX 77064



 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


        1, the President of L Reit, LLC, Debtor's General Partner of the partnership named as the debtor in this case, declare
under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the
best of my information and belief.




 Date       December 5, 2018                                                  Signature
                                                                                             lyfohammad Nasr


                        Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                          I8U.S.C. §§ 1 52 and 357 1.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com
                                                                                                                                                         Best Case Bankruptcy
